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No. 21-3039
                 UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT
                         ________________
                  ANDES PETROLEUM ECUADOR LIMITED,
                                          Petitioner-Appellee,
                                  v.
           OCCIDENTAL EXPLORATION AND PRODUCTION COMPANY,
                                          Respondent-Appellant.
                          ________________
            On Appeal from the United States District Court for the
             Southern District of New York, No. 21-3930 (AKH)
                             ________________

            BRIEF FOR RESPONDENT-APPELLANT
    OCCIDENTAL EXPLORATION AND PRODUCTION COMPANY
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March 30, 2022
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                  CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Respondent-

Appellant Occidental Exploration and Production Company is an indirect, but

wholly-owned subsidiary of Occidental Petroleum Corporation which owns,

indirectly, 100% of its stock.




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                                INTRODUCTION
      This appeal arises out of a massive $392 million arbitration award, plus

another $130-million-plus in interest, against Appellant Occidental Exploration and

Production Company (“OEPC”) that Appellee Andes Petroleum Ecuador Limited

(“Andes”) procured in contradiction of the parties’ agreement. Soon after the award

issued, OEPC discovered that Andes and one of the arbitrators had been keeping a

shared secret. For more than two years during the merits portion of the arbitration,

arbitrator Robert Smit and Andes’ lead counsel, Laurence Shore, had been

collaborating as colleagues and co-arbitrators in a separate, concurrent, and

confidential matter. The parties’ arbitration agreement imposed detailed, extensive,

and ongoing disclosure requirements with which Smit swore to comply, but he chose

to stay silent on this clear conflict. Smit promptly disclosed other less significant

conflicts for Andes’ benefit, creating the misleading illusion of compliance with his

obligations, while keeping OEPC in the dark about his close and continuous

collaboration with Andes’ lead counsel. Shore was equally obligated to disclose the

collaboration, yet he stayed mum as well. Thus, while OEPC was working to

convince Smit on the merits and on the level, unbeknownst to OEPC, Andes and its

lead counsel enjoyed undisclosed, real-time, behind-the-scenes access to Smit as co-

equals—access that gave Andes and Shore improper and asymmetric insights into
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Smit’s disposition toward particular issues, amenability to different lines of

argument, and personal preferences for conducting arbitral proceedings.

      Smit’s disclosure violation disregarded the parties’ disclosure agreements and

undermined the foundation of the arbitration process. OEPC agreed to forgo its

rights to the procedural protections and appellate review of the judicial process in

exchange for the efficiencies of arbitration, but it did so on the express condition that

the matter would be decided by “wholly independent and impartial” arbitrators who,

along with the parties themselves, would abide by bargained-for disclosure

requirements designed to ensure their independence and neutrality. Smit’s and

Shore’s joint failure to disclose their collaboration as co-equals in a separate,

confidential arbitration did more than just violate the agreement’s unambiguous

disclosure requirements; it nullified the entire framework for ensuring the wholly

independent and impartial panel that both sides had agreed would decide their

disputes. Had any one of Smit, Shore, or Andes fulfilled the disclosure obligations

under the agreement, OEPC would have objected, Smit would have been

disqualified, and OEPC would have received the independent adjudication for which

the parties had bargained. Instead, Andes enjoyed the benefits of both the arbitrator

it chose and another arbitrator with whom its lead counsel had an ongoing,

concealed, and advantageous relationship as co-equals, while OEPC had no

comparable access to Smit and was left arbitrating before a skewed panel to which


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it did not consent. The resulting massive arbitration award, issued by a compromised

panel in favor of Andes, a party that manifestly violated its own disclosure

obligations, cannot stand.

      By confirming the award in a cursory opinion that did not even address many

of OEPC’s arguments, the district court disregarded the parties’ agreement and failed

to abide by both the Federal Arbitration Act (“FAA”) and the Convention on the

Recognition and Enforcement of Foreign Arbitral Awards (the “Convention”).

Under the FAA, failure to disclose a material relationship with a party meets the

“evident partiality” standard, for “[a] reasonable person would have to conclude that

an arbitrator who failed to disclose under such circumstances was partial to one

side.” Applied Indus. Materials Corp. v. Ovalar Makine Ticaret Ve Sanayi, A.S., 492

F.3d 132, 137 (2d Cir. 2007). And under the Convention, an arbitral award cannot

be confirmed when “the composition of the arbitral authority [is not] in accordance

with the agreement of the parties,” which plainly happens when an arbitrator fails to

comply with the disclosure provisions of the arbitration agreement from which he

derives his authority. Tatneft v. Ukraine, 21 F.4th 829, 838 (D.C. Cir. 2021). Under

both the FAA and the Convention, the judgment below should be reversed.

      The district court’s contrary conclusion not only is profoundly wrong, but has

far-reaching effects that undermine the value of arbitration and the basic policy

judgments underlying both the FAA and the Convention. Arbitration’s viability as


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an alternative to litigation rests on its procedural integrity and the flexibility it gives

parties to tailor agreements to their needs. The Supreme Court has emphasized

repeatedly that arbitration agreements must be rigorously enforced according to their

terms, including terms that “specify with whom the parties choose to arbitrate their

disputes and the rules under which that arbitration will be conducted.” Epic Sys.

Corp. v. Lewis, 138 S.Ct. 1612, 1621 (2018). Here, the parties bargained for

arbitrators who would be “at all times wholly independent and impartial,” JA189

¶3(c); JA294 ¶18.2.3.3, and adopted rules and continuing disclosure requirements to

ensure that remained true. The decision below renders both the basic guarantee of

neutrality and the agreed-upon disclosure requirements designed to ensure it mere

parchment barriers.

      If courts abrogate terms in the parties’ arbitration agreement designed to

ensure the bedrock guarantee of neutrality or, as here, abdicate their duty to

“rigorously enforce” terms requiring complete independence and, instead, enforce

arbitration awards reached in derogation of the parties’ agreed-upon procedures, then

arbitration loses its value. That is especially true in the context of international

transactions, where (as here) parties resort to arbitration, and bargain for strict

disclosure and neutrality provisions, because they fear local courts may be rife with

undisclosed relationships and intertwined interests. See, e.g., Mitsubishi Motors

Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 629-30 (1985) (recognizing


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the special need for arbitration in international business transactions). In those

situations, the promise of arbitration by a truly neutral and “wholly independent”

panel may drive the entire arbitration agreement and, in fact, provide a necessary

cornerstone for the entire transaction. To affirm the decision below would send the

untenable message that negotiated neutrality and contractual disclosure agreements

can be disregarded without consequence, thereby depriving arbitration agreements

of much of their value in the international context where they are needed most. This

Court should reverse.

                        JURISDICTIONAL STATEMENT
      The district court (Hellerstein, J.) issued an order and opinion granting

Petitioner-Appellee’s motion to confirm and denying Respondent-Appellant’s

motion to vacate on November 15, 2021. The district court entered a final judgment

on December 2, 2021. Appellant filed a notice of appeal on December 14, 2021.

The district court had jurisdiction under 9 U.S.C. §203 and 28 U.S.C. §1332(a)(4).

This Court has appellate jurisdiction under 28 U.S.C. §1291.

                        STATEMENT OF THE ISSUES
      1.     Whether the arbitration award entered against OEPC should be vacated

under the FAA because an arbitrator exhibited evident partiality by concealing an

ongoing relationship with Andes’ lead counsel in violation of the agreement’s

detailed and expansive disclosure provisions. 9 U.S.C. §10(a)(2).


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      2.     Whether the Convention precludes confirmation of the arbitration

award entered against OEPC because the concealed relationship between Andes and

an arbitrator violates unambiguous terms in the parties’ arbitration agreement

regarding panel composition. Convention on the Recognition and Enforcement of

Foreign Arbitral Awards art. V, §1(d), Dec. 29, 1970, 21 U.S.T. 2517, 2520.

      3.     Whether the arbitration award should be vacated under the FAA

because an arbitrator exceeded his powers by issuing an award despite violating

unambiguous terms in the arbitration agreement from which he derived any

purported authority. 9 U.S.C. §10(a)(4).

      4.     Whether, at a minimum, the district court’s judgment should be vacated

and the case remanded for an evidentiary hearing or discovery.

      5.     Whether the district court miscalculated the amount of pre-judgment

interest, assuming Andes is entitled to any award.

                         STATEMENT OF THE CASE
I.    Factual Background

      A.     OEPC’s and Andes’ Operations in Ecuador
      OEPC is a hydrocarbon exploration company. In 1999, OEPC entered into a

Participation Agreement with PetroEcuador, an Ecuadorian state-owned oil

company, in which OEPC agreed to carry out exploration activities in an area

referred to as Block 15. SPA1. The next year, OEPC entered into a Farmout

Agreement and Joint Operating Agreement (“JOA”) with Alberta Energy
                                           6
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Corporation (“AEC”).      Through those agreements, OEPC and AEC agreed to

conduct joint operations with respect to Block 15, with AEC obtaining a 40%

economic interest and OEPC retaining the other 60%, subject to the approval of the

Ecuadorian government. SPA1. OEPC would retain 100% of the legal title to Block

15 until that approval was obtained, but the parties nevertheless agreed to begin

conducting joint operations pursuant to the 60%-40% split. JA29 ¶¶13-14. Both

agreements require that all disputes be resolved through arbitration and set forth the

rules and procedures for any such arbitration. JA25-28 ¶¶7-8.

      The Ecuadorian government never approved the transfer and instead began

threatening to terminate the Participation Contract. SPA2. OEPC sought to engage

with the Ecuadorian authorities to resolve the dispute. Award ¶18. In the meantime,

AEC—which through a merger had become Encana Corporation—sold its 40%

economic interest in Block 15 to Andes, which is wholly owned by Chinese state-

run oil companies. JA23, JA30-31 ¶¶2, 19.

      Although Ecuador’s ongoing refusal to approve the transfer meant that OEPC

continued to hold 100% legal interest in Block 15, OEPC and Andes continued to

operate pursuant to the 60%-40% split established in the Farmout Agreement and

JOA. They also entered into a Letter Agreement to address what would happen if

Ecuador followed through on its threat to terminate the Participation Contract.

Paragraph 2(g) of the Letter Agreement provided that if Ecuador terminated the


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contract and OEPC took legal action against Ecuador to recover for its 100% legal

interest, OEPC and Andes would split legal fees and any monetary award 60%-40%:

       If [OEPC] receives any monetary award from the Government of
       Ecuador as a result of the Government’s actions to enforce caducity[1]
       and terminate [OEPC’s] contract with respect to Block 15, [OEPC]
       agrees that [Andes] is entitled to a 40% share in the net amount
       received, after all costs and expenses….

Letter Agreement, JA153 ¶2(g).

       B.     The OEPC-Ecuador Arbitration
       A few months later, Ecuador terminated the Participation Contract and seized

Block 15 and its associated assets. JA31-32 ¶21. OEPC commenced arbitration

against Ecuador before the International Centre for the Settlement of Investment

Disputes (“ICSID”), seeking compensation for its losses with respect to its 100%

legal interest in Block 15. JA32 ¶22. Consistent with the Letter Agreement, Andes

did not participate as a party in the ICSID Arbitration. JA32 ¶23.

       The ICSID tribunal ultimately ruled in OEPC’s favor, holding that Ecuador

violated Ecuadorian and customary international law by terminating the

Participation Contract. JA33 ¶28. The tribunal valued OEPC’s 100% interest in

Block 15 at $2.395 billion, but it assessed a 25% penalty against OEPC for




   1
     The parties used the terms “caducity” or “caducidad,” the Spanish word for
expiration, to refer to Ecuador’s termination of the Participation Contract.

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attempting to assign the 40% interest to Andes without government approval,

leading to a total award of $1.77 billion, plus interest. JA ¶27-28.

       Ecuador appealed the award to an annulment committee. Ecuador argued that

the tribunal could not award OEPC damages for the 40% economic interest that

OEPC had assigned to Andes, and could instead award OEPC damages only with

respect to OEPC’s own 60% share, leaving Andes to pursue its own remedies. The

annulment committee agreed, ruling that the tribunal “manifestly exceeded its

powers by wrongly assuming jurisdiction with regard to the investment now

beneficially owned by the Chinese investor Andes.” JA34 ¶31. Accordingly, the

committee determined that “the compensation owed to [OEPC] should be reduced

from 100% to 60% of the value of Block 15,” leading to an award of $1.06 billion,

plus interest.   JA34 ¶31. 2   The committee made clear, however, that Andes’

investment was protected and that Andes remained free to pursue relief for its 40%

interest, stating that its decision did not “imply that investors holding beneficial

ownership are left unprotected” and that Andes was “entitled to the protection which

investors from Bermuda/China enjoy, when investing in Ecuador, under applicable




   2
     OEPC eventually settled its 60% claim against Ecuador for $980 million and a
release of various disputed tax and labor amounts. See JA453-91. The settlement
expressly did not release any claims arising from Ecuador’s expropriation of Andes’
40% economic interest. JA502.

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bilateral investment treaties or under general principles of international law.” JA34

¶32.

       Andes refused to pursue any action against the Ecuadorian government,

whose approval it needs to continue its other, extensive operations in Ecuador.

Instead, acting as if the annulment proceedings never happened, Andes demanded

that OEPC hand over 40% of the amount it recovered in the arbitration, even though

that award expressly did not include compensation for any of Andes’ 40% interest in

Block 15. JA35 ¶34. OEPC rejected Andes’ demand and offered to refund Andes’

portion of the legal costs, explaining (as Andes already knew) that OEPC recovered

only its own 60% share, leaving Andes free to pursue recovery of its own 40%

interest from Ecuador. JA35 ¶34. Andes reasserted its demand for 40% of OEPC’s

60% and commenced an arbitration proceeding against OEPC. That arbitration

proceeding is the subject of this appeal.

       C.     The OEPC-Andes Arbitration
              1.    Disclosure Requirements in the OEPC-Andes Arbitration
                    Agreement
       As noted, the Farmout Agreement and JOA require OEPC and Andes to

resolve disputes through arbitration and detail the rules that govern any such

arbitration. Foremost among the matters addressed in the arbitration provisions is

the neutrality and independence of the arbitral panel. OEPC opted for arbitration in

large part because of concerns about the fairness of the Ecuadorian courts, and

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exchanging one unreliable tribunal for another would achieve nothing. Accordingly,

the agreements set forth and incorporate numerous rules and procedures to ensure

transparency and arbitral independence, including expansive and detailed disclosure

requirements.

      The agreements specify that a panel of three arbitrators would decide disputes

under the contracts; each party would be entitled to appoint “an arbitrator of its

choice,” and the two party-appointed arbitrators would “in turn appoint [the third]

presiding arbitrator.” JA189 ¶2; JA294 ¶18.2.2. Unlike arbitrations in which the

two party-appointed arbitrators are expected to act as advocates, see JA209, Rule

R-18(b), the agreement requires all three arbitrators to be neutral. JA189 ¶2; JA294

¶18.2.2. It further mandates that “the arbitrator(s) shall be and remain at all times

wholly independent and impartial.” JA189 ¶3(c); JA294 ¶18.2.3.3.

      The parties specifically backstopped that “independent and impartial”

requirement by incorporating the American Arbitration Association (“AAA”) rules

and their expansive disclosure requirements. JA189 ¶3(d); JA294 ¶18.2.3.4; see

Dkt.35-1 at 14 (“Compared to such peer institutions … the AAA through its

Commercial Rules imposes duties of disclosure that are exceedingly broad in terms

of the participants bound by them.”). Of particular importance here, AAA Rule R-17

requires the arbitrators, parties, and parties’ counsel to “disclose … any circumstance

likely to give rise to justifiable doubt as to the arbitrator’s impartiality or


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independence,” including “any past or present relationship with the parties or their

representatives.” JA208, Rule R-17. The obligation not only applies at the time of

appointment, but requires ongoing disclosures as circumstances warrant. In full, the

provision states:

      Any person appointed or to be appointed as an arbitrator, as well as the
      parties and their representatives, shall disclose … any circumstance
      likely to give rise to justifiable doubt as to the arbitrator’s impartiality
      or independence, including any bias or any financial or personal interest
      in the result of the arbitration or any past or present relationship with
      the parties or their representatives. Such obligation shall remain in
      effect throughout the arbitration.

Id.

      The parties’ agreements require the arbitrators to execute an oath

acknowledging their continuing disclosure obligation. The oath form states that “[i]t

is most important that the parties have complete confidence in the arbitrator’s

impartiality,” and makes explicit that the arbitrators’ disclosure obligation “is a

continuing obligation throughout [their] service.” JA239. To that end, the oath form

expressly states that “any additional direct or indirect contact [that] arise[s] during

the course of the arbitration … must … be disclosed,” and that “any doubts should

be resolved in favor of disclosure.” JA239. The form expansively describes the

types of relationships that the arbitrators must disclose on an ongoing basis,

including “any past or present relationship with the parties, their counsel, or potential

witnesses, direct or indirect, whether financial, professional, social or of any other


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kind.” JA239. And to close any potential gaps, the form requires disclosure “of any

other information that may lead to a justifiable doubt as to your impartiality or

independence or create an appearance of partiality.” JA239.

      Finally, the oath form incorporates the AAA’s Code of Ethics for Commercial

Arbitrators, which requires arbitrators to disclose any relationship that “might

reasonably affect impartiality or lack of independence in the eyes of any of the

parties”—including those “with any party or its lawyer.” Canon II(A)(2). The Ethics

Code also requires arbitrators to disclose “any other matters, relationships, or

interests which they are obligated to disclose by the agreement of the parties.”

Canon II(A)(4). When complying with either of these requirements, “[a]ny doubt as

to whether or not disclosure is to be made should be resolved in favor of disclosure.”

Canon II(D).

      These detailed and comprehensive disclosure requirements were designed to

ensure that neither party would appoint arbitrators whose independence or

impartiality was or even might appear to be compromised, and they provided

recourse if an arbitrator’s independence or impartiality became compromised during

the proceedings. If a relationship arose with a party or its counsel and was disclosed,

either party had the right to object to the arbitrator’s continued service, and the AAA

would adjudicate any objections. JA209, Rule R-18(c). Any arbitrator whom the

AAA determined to be partial or otherwise in breach of his contractual duties would


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“be subject to disqualification,” JA209, Rule R-18(a), and in such a case, the parties’

agreement provides that “a successor arbitrator shall be selected and appointed in

the same manner as the original arbitrator.” JA190 ¶3(l); JA295 ¶18.2.3.12. Thus,

if a party-appointed arbitrator was removed for any reason, his replacement would

be chosen by the party that appointed him.

             2.     The Arbitration Process and Decision
      OEPC and Andes each appointed one arbitrator to the tribunal that would

arbitrate their dispute over the award OEPC secured through the ICSID arbitration.

OEPC interviewed and conducted thorough diligence on several candidates,

including Robert Smit. JA183 ¶18. During the interview process, Smit disclosed

that a company represented by Andes’ law firm of record and, at the time, the firm

of Andes’ lead counsel Laurence Shore, had recently appointed Smit to serve as an

arbitrator in an unrelated matter. OEPC followed up and asked Smit whether he had

any relationship with Shore other than that one arbitration; Smit responded that “the

new case I told you about is the only one I’ve ever done involving [Shore]. (I

basically know him from arbitration conferences).” JA519.

      OEPC decided to appoint Smit to the panel, while Andes appointed Richard

Ziegler. Smit and Ziegler then selected James Hosking to serve as the presiding

arbitrator. As part of the appointment process, Smit executed the Arbitrator’s Oath,

thereby acknowledging his “continuing obligation” to “disclose any past or present


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relationship with the parties, their counsel, or potential witnesses, direct or indirect,

whether financial, professional, social or of any other kind.” JA239. The oath form

required Smit to list any relationship requiring disclosure. Smit disclosed the

aforementioned arbitration in which he was appointed by Shore’s firm’s client.

JA240. He also disclosed that, ten years earlier, “[t]he other party-arbitrator, Richard

Ziegler, and I represented opposing parties as counsel in an international arbitration.”

JA240. Consistent with his continuing obligation, Smit reiterated that he would

disclose “any additional direct or indirect contact” with the parties or counsel that

may “arise during the course of the arbitration.” JA239. Smit made similar

commitments in his compensation agreement. JA540.

      Throughout the arbitration proceedings, Smit and the other arbitrators

continually—but not completely, in Smit’s case—updated their disclosures as new

facts arose. For example, when OEPC retained Debevoise & Plimpton as additional

counsel in May 2018, Smit disclosed that he was “a member [of] a Tribunal in an

unrelated ICC arbitration in which Debevoise appear as counsel for one of the

parties,” and that “[David] Rivkin of Debevoise appears … both in this arbitration

as well as in the ICC arbitration.”       JA560.    Ziegler made four supplemental

disclosures, including that he was retiring from law practice and establishing an

independent dispute-resolution practice. JA184-85 ¶21; see JA521-74. Hosking

made two supplemental disclosures, including that a mentee assigned to him by an


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arbitration group had accepted an internship with one of the firms representing

OEPC. JA184-85 ¶21; see JA521-74. Smit made no additional disclosures. Andes

and its lead counsel, Laurence Shore, made none.

      The OEPC-Andes arbitration proceeded for more than three years, during

which the parties disputed a variety of procedural and substantive issues. See JA36-

54 ¶¶41-129. On March 26, 2021, the panel ruled in favor of Andes. The panel did

not deny that the earlier tribunal had compensated OEPC for only its 60% interest in

Block 15, or that Andes remained free to pursue its 40% interest from Ecuador.

Nevertheless, the panel concluded that Andes was entitled to 40% of OEPC’s 60%

share—a windfall of $392 million, plus another $130-million-plus in pre-judgment

interest. Among other things, the panel ruled that the Letter Agreement required

OEPC to pay Andes 40% of its recovery even though that recovery did not include

compensation for Andes’ economic interest; that OEPC’s ability to recover damages

for 100% of economic interests in Block 15 was not a condition precedent of that

obligation; that the annulment committee’s ruling did not frustrate the fundamental

purpose of the Letter Agreement; and that Andes was not required to mitigate its

losses by pursuing recovery against Ecuador.

            3.     Smit, Shore, and Andes’ Concealment of a Material
                   Relationship
      Shortly after the panel issued its highly suspect award, OEPC discovered

some startling information: Throughout the arbitration proceedings, Smit had been

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concealing an ongoing relationship with Andes’ lead counsel, Shore, and Shore and

Andes had concealed it too. Beginning in April 2018 (mere months after the panel

was constituted) and lasting all the way until August 2020, Smit and Shore served

together as co-arbitrators on a separate, undisclosed matter (the “ICC Arbitration”).

See JA508-09. In fact, Shore was the president of that tribunal. JA581. The ICC

Arbitration was conducted confidentially, so most of its details remain unknown to

OEPC, but like the arbitration here, it involved a contract dispute in the energy

sector. JA580 ¶¶22-23 & n.1. Thus, for nearly the entirety of the merits proceedings

in this matter, Smit and Shore secretly maintained a close, direct relationship as co-

equals in a confidential arbitration that gave Shore a behind-the-scenes look at

Smit’s decision-making process, inside information on his views about specific

contract doctrines, and ample opportunity for ex parte communication, collegial

discussions, and collaborative decision-making. Incredibly, Smit and Shore never

disclosed this relationship to OEPC.

      Upon discovering the relationship, OEPC notified Andes by letter that it

intended to seek vacatur of the arbitration award. The letter explained that “[a]fter

the Andes Award was issued, OEPC learned that Andes’ counsel, Mr. Laurence

Shore, and one of the appointed arbitrators, Mr. Robert Smit, had a significant and

ongoing joint engagement as co-arbitrators in another matter pending concurrently

with the Andes-[OEPC] arbitration.” JA508. The letter noted that “Mr. Smit and


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Mr. Shore each concealed this relationship” in violation of the “contractual mandate

that arbitrators ‘shall be and remain at all times wholly independent and impartial’”

and “in breach of the … express disclosure rules that obligated both Andes and Mr.

Smit to disclose the existence of this relationship.” JA508. Andes denied any

wrongdoing but did not deny the existence of the relationship. Instead, Andes merely

asserted that “[w]e can confirm that this ICC tribunal is the only one on which Mr.

Shore and Mr. Smit have both served as arbitrators.” JA511.

II.   Procedural Background
      Andes initiated this action with a petition to confirm the arbitration award in

the Southern District of New York. JA9-18. OEPC moved to vacate the award and

opposed Andes’ petition. Dkt.28, Dkt.35. OEPC argued, among other things, that

the award should be vacated under the FAA on grounds of evident partiality, 9 U.S.C.

§10(a)(2), that the award should be vacated because an arbitrator exceeded his

powers, 9 U.S.C. §10(a)(4), and could not be confirmed under the Convention

because the arbitration panel was not constituted in accordance with the parties’

arbitration agreement, Convention art. V, §§1(d), 2(b). After briefing on those

motions was complete, the case was eventually reassigned from Judge Cote (who

herself was the third judge assigned to the case) to Judge Hellerstein.

      Two weeks after being assigned the matter, and without hearing argument or

ruling on OEPC’s request for argument, Judge Hellerstein confirmed the nearly half-


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billion-dollar award and denied OEPC’s motion to vacate in a conclusory nine-page

opinion. Judge Hellerstein rejected OEPC’s arguments regarding evident partiality

with one sentence of analysis and in sole reliance on a case addressing an

undisclosed arbitrator-arbitrator relationship, rather than the far more serious issue

of an undisclosed arbitrator-party relationship.       SPA6 (citing Scandinavian

Reinsurance Co. v. Saint Paul Fire & Marine Ins. Co., 668 F.3d 60 (2d Cir. 2012)).

Judge Hellerstein did not even address OEPC’s arguments under the Convention.

      Andes submitted a proposed final judgment, which included $166,107,500.79

in pre-judgment interest, and attached a spreadsheet that purported to explain how it

arrived at that number. JA776. The Court gave OEPC a mere 48 hours to respond.

OEPC filed a detailed submission explaining that Andes’ calculation was legally and

mathematically flawed, and that the proper amount of pre-judgment interest was

about $34 million less: $132,089,357.15. JA785. Hours later, without opinion or

explanation, Judge Hellerstein signed Andes’ proposed judgment, awarding it a total

of $558,577,380.56, plus costs and post-judgment interest. SPA11-12. This appeal

followed.

                          SUMMARY OF ARGUMENT
      OEPC and Andes agreed to submit their disputes to a panel of three arbitrators

who were “at all times wholly independent and impartial.”           To enforce that

impartiality requirement, the arbitration agreement incorporated a rigorous regime


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of disclosure and disqualification: Arbitrators, parties, and counsel had a continuing

obligation to make detailed disclosures, including of “any past or present

relationship” they had with counsel. If a disclosure gave cause for concern, either

party had the right to object to an arbitrator’s continued service before a separate

arbitration panel. And if that panel removed the arbitrator, the replacement would

be “appointed in the same manner as the original arbitrator.” For almost the entire

course of the arbitration, Smit and Andes flouted this regime by concealing that Smit

was sitting alongside Andes’ lead counsel as a co-equal co-arbitrator in a separate,

concurrent, and confidential matter.       That cover-up breached unambiguous

disclosure requirements and vitiated the framework for impartiality at the core of the

agreement. By nevertheless confirming the award, the district court not only

dishonored the parties’ agreement, but failed to follow the FAA and the Convention,

both of which require assiduous adherence to the terms of the agreement, not cavalier

dismissal of blatant violations of agreed-to disclosure and impartiality provisions.

      I. Smit’s undisclosed relationship with Andes’ lead counsel requires vacatur

for evident partiality under the FAA. See 9 U.S.C. §10(a)(2). Evident partiality

exists whenever a reasonable person, informed of the terms of the parties’ agreement

and all relevant circumstances, would have to conclude that an arbitrator was partial

to one party. Applying that standard, this Court has explained that a reasonable

observer would find evident partiality when an arbitrator maintains a material


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relationship with a party and fails to disclose that relationship.         Here, Smit

inexcusably concealed an ongoing, material relationship that provided Andes’ lead

counsel with status as a co-equal and real-time, behind-the-scenes access to his

views about specific contract-law issues, amenability to particular strategies, and

procedural preferences for conducting arbitration. Indeed, the panel on which Smit

and Shore collaborated rendered its confidential award just two-and-a-half weeks

before the merits hearing in this arbitration, allowing Shore to apply fresh insights

from his close collaboration with Smit.         Smit, Andes, and Shore all stayed

inexplicably silent about this pivotal relationship while Smit quickly disclosed

relatively innocuous matters, creating a false impression of compliance and

preventing OEPC from invoking its bargained-for right to object to Smit’s continued

service. Given these circumstances, a reasonable person would have to conclude

that evident partiality existed.

      II. By nullifying the arbitration agreement’s framework for ensuring

impartiality, Smit’s, Andes’ and Shore’s shared nondisclosure also produced a panel

composition that deviated from the parties’ agreement, which independently

precludes confirmation under the Convention.          See Convention art. V, §1(d).

Decisionmaker impartiality is particularly critical to international arbitration, a

context in which parties often turn to arbitration and bargain for strict disclosure and

independence requirements precisely because of a perception that such safeguards


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are absent in foreign courts. To ensure strict adherence to such provisions, the

Convention precludes confirmation of an arbitral award if the composition of the

arbitral authority was not in accordance with the parties’ agreement.

      Where, as here, the parties agree that their panel will be composed of wholly

independent and neutral arbitrators who will comply with extensive, bargained-for

disclosure requirements, and where, as here, one of the arbitrators compromises his

neutrality, conceals his lack of independence, and disregards the disclosure

requirements, the Convention precludes confirmation. Not only did Smit, Shore,

and Andes violate clear disclosure obligations; their joint concealment prevented

OEPC from seeking Smit’s removal pursuant to the agreement, which guaranteed

that a separate arbitral body would address disqualification. In turn, the joint

concealment foreclosed OEPC from exercising its contractual right to appoint Smit’s

successor unilaterally. The Convention’s robust protection of panel-composition

provisions entitles OEPC to a new arbitration under the terms of the arbitration

agreement. For the same reasons, the award must be vacated under 9 U.S.C.

§10(a)(4).

      III. Alternatively, the district court’s judgment should be vacated and the case

remanded for an evidentiary hearing or discovery. Andes and Smit disregarded core

provisions of the arbitration agreement in violation of their repeated promises to

disclose. Their joint concealment preserved both Smit’s continued service in a


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lucrative position that provided an ongoing opportunity for ex parte communications

and Andes’ material advantage in a high-stakes arbitration. These undisputed facts

at least warrant discovery into the scope and nature of Smit’s and Shore’s

collaboration and ex parte communications, as well as the amount of legal overlap

between the two arbitrations, which both involved questions of contract

interpretation. Even a skeptical reasonable observer would at least want to know the

extent to which Shore was privy to inside information about Smit’s views on the

same doctrines Smit later applied in awarding Shore’s client a half-billion-dollar

windfall.

      IV. If this Court does not reverse on the merits, it should at the very least

vacate the district court’s reflexive and unexplained decision to award Andes $34

million more in pre-judgment interest than is due under the terms of the parties’

agreement and principles of basic mathematics. Andes’ calculations, on which the

court presumably relied in signing Andes’ proposed order without explanation,

contain two obvious errors—one legal, one mathematical—that combine to overstate

the amount of pre-judgment interest by over $34 million. Thus, at a bare minimum,

this Court should vacate and either render judgment for the proper amount or remand

for re-calculation of interest.




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                            STANDARD OF REVIEW
      When a district court confirms an arbitration award under the FAA, this Court

reviews its conclusions of law de novo and its findings of fact for clear error. See

Westerbeke Corp. v. Daihatsu Motor Co., 304 F.3d 200, 208 (2d Cir. 2002). Because

the district court made no factual findings, this Court reviews the decision below de

novo. See Meyer v. Uber Techs., Inc., 868 F.3d 66, 73 & n.6 (2d Cir. 2017).

                                   ARGUMENT

I.    The Arbitration Award Should Be Vacated For Evident Partiality.
      A.     The FAA and its Evident-Partiality Standard
      The FAA’s “first” and “foundational” principle is that “arbitration is strictly a

matter of consent.” Lamps Plus, Inc. v. Varela, 139 S.Ct. 1407, 1415 (2019). The

FAA requires courts to “rigorously … enforce arbitration agreements according to

their terms, including terms that specify with whom the parties choose to arbitrate

their disputes and the rules under which that arbitration will be conducted.” Epic

Sys., 138 S.Ct. at 1621 (emphasis omitted). The FAA’s focus on the terms of the

parties’ agreement is evident throughout its provisions. Section 3 requires courts to

stay litigation of arbitrable claims “in accordance with the terms of the [arbitration]

agreement.” 9 U.S.C. §3. Section 4 emphasizes the court’s duty to compel

arbitration “in accordance with the terms of the [arbitration] agreement.” 9 U.S.C.

§4. And Section 10 empowers courts to vacate awards arising from arbitral

proceedings that deviated from the terms of the parties’ agreement. 9 U.S.C. §10.
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Together, these provisions embody an overarching federal policy “to give effect to

the intent of the parties” as reflected in their arbitration agreement. Stolt-Nielsen

S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 682, 684 (2010).

      Congress recognized that parties do not and would not consent to submit their

disputes to arbitration—where arbitrators “have completely free rein to decide the

law as well as the facts and are not subject to appellate review”—without a baseline

guarantee of fairness. Commonwealth Coatings Corp. v. Cont’l Cas. Co., 393 U.S.

145, 149 (1968) (plurality op.).      Congress thus empowered courts to vacate

arbitration awards in the event of an arbitrator’s “evident partiality.” 9 U.S.C.

§10(a)(2); see Hall St. Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 582 (2008). The

evident-partiality provision reflects Congress’ intention “to provide not merely for

any arbitration but for an impartial one.” Commonwealth Coatings, 393 U.S. at 147

(plurality op.). By vacating awards that deviate from the parties’ expectations of

neutrality, federal courts “maintain the integrity of [their] role in affirming or

vacating awards.” Morelite Constr. Corp. v. N.Y. City Dist. Council Carpenters

Benefit Funds, 748 F.2d 79, 84 (2d Cir. 1984).

      A finding of evident partiality does not require “proof of actual bias,” id., or a

showing of subjective bad faith, Applied Indus., 492 F.3d at 138-39. This Court

instead applies a “reasonable person” test, vacating awards whenever a reasonable

person, in view of all relevant circumstances, “would have to conclude that an


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arbitrator was partial to one party to the arbitration.” Morelite, 748 F.2d at 84. One

circumstance in which a reasonable person would have to do so is when the arbitrator

“knows of a material relationship with a party and fails to disclose it.” Applied

Indus., 492 F.3d at 137. The FAA requires arbitrators to “take steps to ensure that

the parties are not misled into believing that no nontrivial conflict exists.” Id. at 138.

That requires leaving determinations about the materiality of a potential conflict to

the parties by “err[ing] on the side of disclosure.” Commonwealth Coatings, 393

U.S. at 152 (White, J., concurring). Applying this rule, the Supreme Court and this

Court have vacated arbitration awards for evident partiality when an arbitrator failed

to disclose a financial relationship with one of the parties, id. at 150, failed to

disclose a familial relationship with one of the parties, Morelite, 748 F.2d at 85, or

failed to disclose a business relationship with one of the parties, Applied Indus., 492

F.3d at 139.

      While the FAA itself imposes a “requirement that arbitrators disclose to the

parties any dealings that might create an impression of possible bias,”

Commonwealth Coatings, 393 U.S. at 149, parties may ratchet up or down that

baseline disclosure requirement. “[P]arties are free to choose for themselves to what

lengths they will go in quest of impartiality.” Certain Underwriting Members of

Lloyds of London v. Fla., Dep’t of Fin. Servs., 892 F.3d 501, 508 (2d Cir. 2018); see

also Hall St., 552 U.S. at 586 (“[T]he FAA lets parties tailor … the way arbitrators


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are chosen, [and] what their qualifications should be.”). Some parties might view

entanglements between the arbitrators and the parties as a necessary evil, especially

in contexts where the “most capable potential arbitrators are repeat players with deep

industry connections.” Lloyds, 892 F.3d at 507. Other parties might view the same

sorts of relationships as unacceptable, demanding absolute neutrality even at the cost

of expertise, experience, or expense. And still other parties might seek to resolve

such matters on a case-by-case basis, requiring arbitrators to disclose all potential

conflicts so that they can assess for themselves on an ongoing basis whether potential

entanglements are acceptable.

      Rather than create a one-size-fits-all rule, the evident-partiality standard

incorporates the parties’ agreement on such matters.         A “reasonable person,

considering all of the circumstances,” Applied Indus., 492 F.3d at 137, would

consider the terms of the parties’ agreement as the most material of circumstances,

and would draw very different conclusions from an arbitrator’s non-disclosure of a

potential conflict under an agreement that accepts certain entanglements than under

one that demands absolute transparency and independence. Accordingly, this

Court’s decisions have always assessed evident partiality in light of the parties’

agreement, and indeed have repeatedly recognized that “an undisclosed relationship

is material if it violates the arbitration agreement.” Lloyds, 892 F.3d at 508 (citing

Sphere Drake Ins. v. All Am. Life Ins., 307 F.3d 617, 622 (7th Cir. 2002)).


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      In Applied Industries, for example, the agreement imposed upon the arbitrator

an ongoing obligation to ensure that neither he nor his employer had “a direct or

indirect interest in the outcome of the arbitration.” 492 F.3d at 139. When the

arbitrator learned that his employer was negotiating a business deal with one of the

parties, he failed to investigate the full extent of that relationship. Id. This Court

vacated the resulting award for evident partiality. The panel emphasized that it was

not creating a “free-standing duty to investigate,” but held that such a duty existed

because of the arbitrator’s specific contractual “duty to ensure that neither he nor his

corporation had a direct or indirect interest in the outcome of the arbitration.” Id. at

138-39. In light of the arbitrator’s failure to comply with that contractual obligation,

“a reasonable person would have to conclude that evident partiality existed.” Id. at

139; see also Pitta v. Hotel Ass’n of N.Y.C., Inc., 806 F.2d 419, 424 (2d Cir. 1986)

(disqualifying arbitrator for evident partiality because conflict of interest made him

“‘incapable of acting’ within the meaning of paragraph 15 of the Agreement”).

      This Court applied the same principles to the converse situation in National

Football League Management Council v. National Football League Players

Association (Brady), 820 F.3d 527 (2d Cir. 2016). There, the Court refused to vacate

an award for evident partiality despite the arbitrator’s obvious conflict of interest—

namely, he was charged with “adjudicat[ing] the propriety of his own conduct”—

because the parties’ agreement expressly permitted that conflict. Id. at 548. The


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parties contracted “to specifically allow the Commissioner to sit as the

arbitrator … knowing that the Commissioner would have a stake … in every

arbitration.” Id. Accordingly, the Commissioner’s conflict did not warrant vacatur

for evident partiality, id., even though it surely would have absent such a contractual

provision, cf. Pitta, 806 F.2d at 424. As this Court explained, “arbitration is a matter

of contract, and consequently, the parties to an arbitration can ask for no more

impartiality than inheres in the method they have chosen.” Brady, 820 F.3d at 548.

      This Court reaffirmed the centrality of the parties’ agreement to the evident-

partiality analysis in Lloyds.     There, instead of contracting for three neutral

arbitrators, the parties agreed that two party-appointed arbitrators would “serve as

de facto advocates” working to convince a third, neutral arbitrator to rule in favor of

the party who appointed them. 892 F.3d at 508, 510. The district court found evident

partiality because one of the party-appointed arbitrators failed to “disclose close

relationships with” the party that appointed him, but this Court reversed. 892 F.3d

at 503. While this Court reiterated that “an undisclosed relationship is material if it

violates the arbitration agreement,” it explained that the evident-partiality standard

is more difficult to satisfy when the parties’ agreement explicitly provides that the

arbitrator will be non-neutral. Id. at 508, 510. When the parties agree to use non-

neutral arbitrators, expecting those arbitrators to exhibit “the same level of

institutional impartiality applicable to neutrals would impair the process of self-


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governing dispute resolution.” Id. at 510. Though the arbitrator’s failure to disclose

the full extent of his relationships with the party that appointed him would have

demonstrated evident partiality if the parties’ contract required him to be neutral, id.

at 509, the non-disclosure there did not run afoul of the parties’ agreement, which

authorized the use of non-neutral arbitrators, id. at 511. The evident-partiality

standard is thus inextricably linked to the FAA’s overarching command to

“rigorously enforce arbitration agreements according to their terms.” Am. Exp. Co.

v. Italian Colors Rest., 570 U.S. 228, 233 (2013).

      To be sure, not every failure to disclose evinces evident partiality. The

ultimate touchstone is “partial[ity] to one side,” Applied Indus., 492 F.3d at 137

(emphasis added), so the failure to disclose a relationship that is not suggestive of a

predisposition “to favor one party over another” cannot support vacatur. See

Scandinavian Reinsurance, 668 F.3d at 74. Thus, an undisclosed relationship

between two neutral arbitrators is less likely to warrant vacatur for evident partiality

because, unlike an arbitrator-party relationship or an arbitrator-counsel relationship,

an arbitrator-arbitrator relationship does not suggest “the possibility of bias for or

against a particular arbitrating party.” Id. Similarly, failure to disclose a relationship

that does not blur the lines between neutrals and non-neutrals, such as an additional

appearance as a non-neutral advocate before an arbitrator in a separate arbitration,

may be less troubling. See, e.g., Dow Corning Corp. v. Safety Nat’l Cas. Corp., 335


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F.3d 742, 750 (8th Cir. 2003); cf. In re Kensington Int’l Ltd., 368 F.3d 289, 303-05

(3d Cir. 2004) (finding structural conflict of interest where neutral advisors to judge

simultaneously served as advocates in similar cases). Vacatur is also unwarranted if

the undisclosed relationship is “trivial,” Commonwealth Coatings, 393 U.S. at 150

(White, J., concurring), or “insubstantial,” Lucent Techs. Inc. v. Tatung Co., 379 F.3d

24, 31 (2d Cir. 2004) (two arbitrators did not disclose their “co-ownership of an

airplane more than a decade ago”). But when an arbitrator from whom the parties

demand transparency and neutrality fails to disclose a non-trivial relationship that

reflects a lack of neutrality and inures to the benefit of one party, “a reasonable

person would have to conclude that evident partiality existed.” Applied Indus., 492

F.3d at 139.

      B.       Arbitrator Robert Smit Exhibited Evident Partiality.
      Here, a reasonable observer would see the following: The parties’ arbitration

agreement placed a high premium on independence and impartiality, demanding

arbitral neutrality and imposing a continuing obligation to disclose “any past or

present relationship” between an arbitrator and any party or counsel. Smit swore

multiple times, in unequivocal terms, to abide by that requirement. Andes and Shore

bound themselves to that obligation too. Nevertheless, Smit concealed an ongoing,

material, and lucrative relationship with Andes’ lead counsel for more than two

years—a relationship that deprived OEPC of the promised “wholly independent and


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impartial” arbitrator, and that Smit knew gave Shore an opportunity for ex parte

communications and an inside look at Smit’s thought processes in real time with the

underlying arbitration. All the while, Smit disclosed other potential conflicts,

including relatively trivial ones, negating any possibility of inadvertence and

creating the illusion of compliance. “[G]iven these circumstances, a reasonable

person would have to conclude that evident partiality existed.” Applied Indus., 492

F.3d at 139.

      1. This is not a case in which the parties bargained for non-neutral arbitrators

or ratcheted down the FAA’s baseline disclosure requirements. To the contrary, they

ratcheted them up. The parties’ agreement reflects a deep concern for arbitral

neutrality, imposing a heightened standard of independence and impartiality

alongside an aggressive disclosure regime that channels any remotely colorable risk

of partiality to a separate arbitration panel. That paramount concern for neutrality is

a product of the context in which the agreement arose. Absent arbitration, OEPC

risked litigating any disputes that may arise out of the parties’ relationship in the

courts of a government that expropriated its property, and against a party that was,

and remains, in an ongoing relationship with that government. See Scherk v. Alberto-

Culver Co., 417 U.S. 506, 516 (1974) (explaining that international arbitration

agreements “obviat[e] the danger that a dispute under the agreement might be

submitted to a forum hostile to the interests of one of the parties”).          OEPC


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understandably contracted for an alternative through arbitration and understandably

insisted that arbitration would not replicate the defects of other available fora, but

would be a truly independent and impartial alternative.

      OEPC thus consented only to arbitrators who were “at all times wholly

independent and impartial.”      JA189 ¶3(c); JA294 ¶18.2.3.3.       The arbitration

agreement enforced that heightened impartiality requirement by incorporating the

AAA’s especially detailed regime for arbitrator disclosure and disqualification.

JA189 ¶3(d); JA294 ¶18.2.3.4; see Dkt.35-1 at 14 (“Compared to such peer

institutions … the AAA through its Commercial Rules imposes duties of disclosure

that are exceedingly broad in terms of the participants bound by them.”). The

agreement thus imposed a continuing obligation on arbitrators, parties, and counsel

to “disclose … any past or present relationship with the parties or their

representatives.” JA208, Rule R-17(a). It likewise stripped the arbitrators of any

jurisdiction to adjudicate disputes over their own removal and instead committed

that authority to the AAA. JA209, Rule R-18(c). To underscore these rules, the

agreement clarified that the arbitrators “shall not have jurisdiction or authority to

add to, detract from or alter in any way [its] provisions.” JA190 ¶3(m); JA295

¶18.2.3.13. These were the “rules” the district court was required to “rigorously

enforce.” Epic Sys., 138 S.Ct. at 1621.




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      Smit knew the arbitration agreement imposed rigorous and continuing

disclosure obligations on him. He repeatedly promised that he would adhere to

them. In the various forms he signed as a condition of his service, he agreed that he

would disclose any “direct or indirect contact” with the parties or counsel “during

the course of the arbitration,” JA239, acknowledged that he had a “continuing

obligation” to “disclose any … relationship with the parties [or] their counsel,”

JA239, agreed that he would resolve “[a]ny doubts … in favor of disclosure,” JA239,

and promised to “disclose any direct or indirect relationship” with the parties, JA540.

Likewise, he acknowledged the paramount importance of the parties’ “complete

confidence in [his] impartiality,” JA239, and that a failure to disclose would be a

“serious transgression and may be grounds for … removal as arbitrator … and/or

from the AAA’s Roster,” JA540. On top of that, he necessarily agreed to abide by

the terms of the arbitration agreement when he accepted the position. See, e.g.,

Sokolowski v. Metro. Transp. Auth., 723 F.3d 187, 191 (2d Cir. 2013).

      Notwithstanding these unambiguous promises, for more than two years during

the merits stage of the arbitration, Smit maintained and concealed an ongoing

relationship with Shore, Andes’ lead counsel, in the confidential ICC Arbitration, in

which the two had ample opportunities to exchange ex parte communications and

collaborate as co-equals. That undeniable breach of Smit’s disclosure obligations

deprived OEPC of the twin promises of independence and impartiality at the core of


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its agreement to submit this dispute to arbitration. OEPC did not bargain for, or

agree to, a process in which arbitrators could maintain ongoing secret collaborations

where representatives of their adversaries were treated as trusted co-equals. Nor did

OEPC bargain for, or agree to, a regime where arbitrators could decide for

themselves whether relationships with the parties or their counsel might compromise

their neutrality. Instead, OEPC bargained for an agreement under which arbitrators

must remain neutral and err at all times on the side of disclosure, and one under

which the parties would have recourse should potentially troubling relationships

arise during the arbitration.

      Smit’s actions violated that bargain multiple times over. Not only did he fail

to disclose a relationship that he was obligated to disclose; he failed to disclose a

relationship that self-evidently deprived OEPC of the “at all times wholly

independent and impartial” panel to which it was entitled. That alone suffices to

demonstrate evident partiality, for “an undisclosed relationship is material if it

violates the arbitration agreement.” Lloyds, 892 F.3d at 510. Moreover, had Smit

disclosed his ongoing relationship with Andes’ lead counsel, OEPC would have

objected to Smit’s continued service and received the benefit of a separate

adjudication from an independent body about his ability to continue serving. See

JA180 ¶7. Under AAA procedures, Smit would not have even known about, much

less been permitted to resolve, that objection.       See 3 Thomas H. Oehmke,


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Commercial Arbitration §69:11 (3d ed. 2020); Gary B. Born, International

Commercial Arbitration §12.06, at 2056-57 (3d ed. 2021). And had the AAA agreed

with OEPC’s assessment of the relationship, which seems inevitable given both the

ongoing collaboration between a neutral and a non-neutral and the failure to disclose

it, the agreement would have empowered OEPC to name Smit’s successor

unilaterally. JA190 ¶3(l); JA295 ¶18.2.3.12; Giorgetti Report, Dkt.35-2 ¶¶29-35.

By keeping the ongoing relationship secret, Smit not only kept from OEPC critical

information he was obligated to share, but arrogated to himself the power to

adjudicate his own disqualification. Smit’s actions violated the arbitration agreement

and ensured his own continued, lucrative service. In the process, Smit destroyed

OEPC’s contractual right to disclosure and prejudiced its correlative rights to object

to his continued service and have the matter assessed by an independent tribunal.

      “[A]rbitration is strictly a matter of consent,” Lamps Plus, 139 S.Ct. at 1415,

and OEPC did not consent to non-neutrality or subversion. OEPC was the only party

that did not know about the ongoing relationship between its supposedly neutral

decisionmaker and its decidedly non-neutral opposing counsel. Its consent to

arbitrate before the panel was thus vitiated by Andes’ and Smit’s simultaneous

failure to disclose a critical, contemporaneous, and advantageous relationship. And

because the relationship remained concealed until after the arbitration concluded,

the breach rendered worthless each of the independence and impartiality provisions


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that underpinned OEPC’s consent. In place of these bargained-for safeguards,

OEPC received a sub-rosa, unilateral, and deeply flawed determination of

impartiality by a self-interested decisionmaker who, unsurprisingly, effectively ruled

in favor of his own continued service.

      More troubling still, Smit remained silent despite knowing that OEPC was

especially concerned about entanglements with Shore. Before appointing Smit,

OEPC’s counsel emailed Smit specifically about his relationship with Shore (and

only about Shore), asking Smit to confirm that other than one previously disclosed

case, he had never “been appointed by or worked on a case with [Shore].” JA519.

Smit responded that “the new case I told you about is the only one I’ve ever done

involving [Shore]. (I basically know him from arbitration conferences).” JA519.

While that may have been true at the time, OEPC’s specific focus on the Smit-Shore

relationship put Smit on notice that OEPC considered any entanglements with Shore

especially important. Smit’s failure to comply with his “ongoing obligation to

disclose conflicts” after he “previously assured the parties that he intended to comply

with that obligation,” knowing full-well of OEPC’s particular interest in

relationships with Shore, plainly violated the parties’ agreement and would lead “a

reasonable person … to conclude that evident partiality existed.” Applied Indus.,

492 F.3d at 138-39; see also Lloyds, 892 F.3d at 510 (“an undisclosed relationship is




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material if it violates the arbitration agreement”); accord Sphere Drake, 307 F.3d at

622.

       2. That conclusion is powerfully reinforced by the nature of the relationship

Smit concealed. This was not some chance meeting at an arbitration conference or

other trivial encounter with little prospect of compromising neutrality or benefiting

one party. The ongoing Smit-Shore relationship destroyed Smit’s independence and

neutrality, blurred the lines between neutrals and adversaries, and had the capacity

to give Andes a substantial advantage in the arbitration proceedings. First, that

ongoing relationship compromised Smit’s status as a neutral because he had an

ongoing collegial relationship as a trusted co-equal with a party who represented

OEPC’s non-neutral adversary in this proceeding. See, e.g., Univ. Commons-

Urbana, ltd. v. Universal Constructors, Inc., 304 F.3d at 1331 (11th Cir. 2002)

(“[S]erving as the decision-maker in one action in which a colleague in another

action represents a party clearly poses the possibility of bias.”); Coe Decl., Dkt.35-

1 ¶¶24-27.     Smit’s ability to process Shore’s presentations neutrally was

compromised by his simultaneous service with Shore as a trusted colleague in a

capacity where they jointly shared confidential information, ex parte

communications, and decisional responsibilities. That relationship blurred the lines

between neutrals sworn to independence and impartiality and non-neutrals with

fiduciary duties to clients, and created a dynamic little different from learning that


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opposing counsel and a supposedly neutral judge serve as undisclosed colleagues on

a college honor board or international tribunal. See, e.g., In re Kensington, 368 F.3d

at 305.

      Equally troubling, that undisclosed relationship gave Andes an unfair leg up.

As the parties actively sparred over dozens of issues across years of arbitration,

Shore enjoyed invaluable access into Smit’s thought processes, insights into his

views on particular contract doctrines, and extended opportunities for ex parte

communications, collegial discussions, and collaboration. See JA36-54 ¶¶41-129

(detailing the extensive pre-award proceedings, disputes, and panel rulings

throughout the arbitration); cf. Pac. & Arctic Ry. & Navigation Co. v. United Transp.

Union, 952 F.2d 1144, 1149 (9th Cir. 1991) (vacating award due to ex parte contacts

that allowed a party to “probe [the arbitrator’s] mood and general attitude”). Because

the proceedings overlapped with the arbitration here, Shore was able to receive these

insights in real time as he worked to convince Smit to award his client more than

$500 million. And once Shore was in possession of this information, he had an

ethical obligation to use it on behalf of Andes, to OEPC’s detriment. Cf. In re

Kensington, 368 F.3d at 304-05 (advisors to judge could not be neutral because they

“had a fiduciary duty” to use their access to advance their clients’ interests).

      The value of Shore’s behind-the-scenes access to Smit cannot be overstated

in the context of arbitration, a process that is flexible and highly discretionary.


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Unlike a district court judge bound by the Federal Rules, applicable precedent, and

the prospect of de novo review, arbitrators have virtually “completely free rein to

decide the law as well as the facts and are not subject to appellate review” on the

merits. Commonwealth Coatings, 393 U.S. at 149 (plurality op.). They likewise

have near-total discretion in shaping procedures, e.g., Koch Oil, S.A. v. Transocean

Gulf Oil Co., 751 F.2d 551, 554 (2d Cir. 1985), determining whether and how to

receive evidence, e.g., LJL 33rd St. Assocs., LLC v. Pitcairn Prop. Inc., 725 F.3d

184, 194 (2d Cir. 2013), and crafting remedies, e.g., ReliaStar Life Ins. Co. of N.Y.

v. EMC Nat’l. Life Co., 564 F.3d 81, 86 (2d Cir. 2009). In short, “[i]n arbitration, to

a great degree, the arbitrator is the process.” 3 Ian R. Macneil, et al., Federal

Arbitration Law §27.1 (1994).

       For the same reason that parties expend significant resources researching and

selecting arbitrators in the first place, receiving real-time insights into an arbitrator’s

current procedural preferences, disposition toward particular issues, and amenability

to particular strategies can be a major advantage. Smit, as an experienced arbitrator,

knew that Shore and Andes were receiving all of these benefits from Shore’s

extended access, making Smit’s failure to disclose “strongly suggestive of bias.”

Scandinavian Reinsurance, 668 F.3d at 72.

      The overlapping timeline of the two arbitrations makes the non-disclosure

particularly inexcusable. The arbitrations were not active at different times, such


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that Smit might have forgotten about one while working on the other. Key events

occurred in both arbitrations within days or weeks of each other. For example, the

panel in the ICC Arbitration rendered its final award on August 13, 2020. JA584

¶36. The merits hearing in this arbitration began just two-and-a-half weeks later, on

September 1, 2020, with Shore as lead counsel for Andes. JA52-53 ¶118; compare

also JA584 ¶35 (evidentiary hearing in ICC Arbitration held from October 14-18,

2019), with JA47 ¶97 (hearing in OEPC-Andes arbitration held from October 23-24,

2019). On one day, Shore was conferring with Smit as equals about how to apply

contract doctrines in the ICC Arbitration; the next day (or so), Shore and his

colleagues were preparing contract arguments as non-neutrals before Smit in this

arbitration, no doubt using any insights Shore gleaned during the confidential ICC

arbitration. Shore was also the chair on the ICC Panel, a relationship that creates

additional weight and collegiality.

      Making matters worse, Smit did disclose less substantial potential conflicts,

demonstrating both his understanding of his strict disclosure obligations and creating

the illusion of compliance. Before his appointment, Smit disclosed that a different

client of Shore’s law firm once appointed him as an arbitrator in an unrelated matter.

JA535. And when OEPC retained additional counsel during the arbitration, Smit

disclosed for Andes’ benefit that one of OEPC’S new attorneys, David Rivkin, was

also appearing before him in an unrelated matter. JA560. The relationships in these


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disclosures were far more attenuated than Smit’s ongoing relationship with Shore—

neither provided direct access to Smit’s thought processes or his views on myriad

contract doctrines as an equal—and yet Smit properly disclosed them as required by

the arbitration agreement. But all the while, for more than two years spanning

multiple other disclosures and the entire merits proceedings in this arbitration, Smit

concealed his far more extensive, consequential, and advantageous relationship with

Shore. And Andes and Shore concealed it too.

      The second of Smit’s disclosures is particularly damning. Rivkin entered his

appearance in this arbitration on May 11, 2018. The very next day, Smit disclosed

that Rivkin was also appearing before him as a non-neutral in another matter. JA560.

Remarkably, Shore had been appointed as Smit’s colleague and co-arbitrator in the

ICC Arbitration just two weeks earlier, on April 25, 2018. JA582 ¶28(e). Thus,

while Smit was quick to disclose a relatively trivial potential conflict that did not

involve crossed lines between non-neutrals and neutrals for Andes’ benefit, he

inexplicably chose not to disclose a nearly contemporaneous and far more serious

relationship that would have provided OEPC with crucial information about his

entanglements with Andes’ lead counsel. There is no charitable way to explain

Smit’s differential treatment of these two relationships: He disclosed the more minor

one to Andes while concealing the more substantial one from OEPC. By disclosing

other relationships while hiding the one relationship with which he knew OEPC was


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most concerned, Smit “misled” OEPC “into believing that no nontrivial conflict

exist[ed].” Applied Indus., 492 F.3d at 137; see New Regency Prods., Inc. v. Nippon

Herald Films, Inc., 501 F.3d 1101, 1110 (9th Cir. 2007) (finding evident partiality

based on incomplete disclosure); cf. William Shakespeare, Macbeth act 1, sc. 3 (“The

instruments of darkness tell us truths, win us with honest trifles, to betray us in

deepest consequence.”).

      3. Notwithstanding the gravity of Smit and Shore’s relationship—to say

nothing of their concealment of that relationship in violation of the arbitration

agreement—the district court concluded that OEPC had not established evident

partiality. In its lone sentence of analysis of the issue, the court stated only that

“concurrent service on two panels” does not “establish material partiality,” citing

Scandinavian Reinsurance. SPA6. Had the court conducted the “case-by-case

approach” to evident partiality that Scandinavian Reinsurance itself requires, 668

F.3d at 72, it would have recognized that this case differs from that one in every way

that matters.

      First, Scandinavian Reinsurance did not involve any crossing of the line that

is supposed to divide neutrals from non-neutrals; it involved an arbitrator-arbitrator

relationship, not arbitrator-party and arbitrator-counsel relationships.          The

nondisclosure of concurrent service by two neutral arbitrators does not suggest “the

possibility of bias for or against a particular arbitrating party” because it does not


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favor one party over the other. Id. at 75, 77. Similarly, the arbitrators’ access to

insights about each other’s views and preferences does not suggest bias because that

information would not redound to either party’s benefit. Id. at 77. Arbitrator-party

and arbitrator-counsel relationships are fundamentally different, as an arbitrator’s

decision to allow counsel for one side to gain an advantage through close interactions

over several months as co-equals compromises neutrality and redounds to the benefit

of one party over the other. See Lucent Techs., 379 F.3d at 30 (recognizing

distinction between an “undisclosed relationship between arbitrators rather than

between an arbitrator and a party”); Univ. Commons-Urbana, 304 F.3d at 1341

(“[S]erving as the decision-maker in one action in which a colleague in another

action represents a party clearly poses the possibility of bias.”).       Here, it is

undisputed that Smit had a relationship with Andes’ lead counsel for years that

nobody disclosed to OEPC.

      Second, the parties in Scandinavian Reinsurance did not include in their

agreement any specific framework for impartiality, disclosure, or disqualification.

Indeed, this Court expressly qualified that decision by noting that it was “not a case

in which the parties have specified a standard for arbitrator impartiality,” and it

reserved judgment on whether “noncompliance with … an agreed-upon standard”

requiring disclosure of an arbitrator-arbitrator relationship “would require a finding

of ‘evident partiality.’” 668 F.3d at 77 n.22. And this Court has since recognized


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that “an undisclosed relationship is material if it violates the arbitration agreement.”

Lloyds, 892 F.3d at 510. Here, Smit’s non-disclosure violated multiple provisions

of the agreement from which he derived his authority, as well as his own repeated

promises to comply with those disclosure requirements.

      Third, Scandinavian Reinsurance turned in part on the fact that the arbitrators

disclosed their joint service to the parties in the other arbitration proceeding, which

led this Court to conclude that the arbitrators may have mistakenly believed that they

had already disclosed the relationship. Id. at 77. This record cannot support any

post hoc attempt to suggest Smit and Shore were laboring under any comparable

misconception. Smit has never offered an explanation for his concealment—and

because of the truncated nature of the proceedings below, has never been required to

do so, see infra Part III—and Shore made no claim of inadvertence in the declaration

he filed in the district court. Instead, Shore asserted that he “rel[ied] on the

International Bar Association’s Guidelines,” which he claims “expressly ‘do not

require disclosure’” of the relationship. JA580 ¶¶24-25. That misses the point. The

parties contracted to apply the AAA rules. Nowhere did they agree to apply the IBA

Guidelines. And Shore does not deny the applicable AAA rules unambiguously

required him and Smit to disclose “any … present relationship” they shared. AAA

Rule R-17(a). In all events, Shore is not even correct about the standard he

unilaterally substituted for the one to which the parties agreed: The IBA Guidelines


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required Andesdisclose “any relationship, direct or indirect, between the arbitrator

and the party [or] its counsel and the arbitrator … on [his] own initiative at the

earliest opportunity.” JA647, Rule (7)(a)-(b). His declaration admits he did not. See

JA521-74.

      The district court dismissed these troubling facts with a blithe comment that

OEPC “merely speculates about the opportunity to engage in misconduct,” SPA6,

but that defies logic. It is self-evident that members of an arbitration panel—like

members of an appellate panel—communicate with one another outside the presence

of counsel for the parties. Smit and Shore served on the same arbitration panel for

two years, communicating throughout that proceeding outside the presence of

OEPC, without OEPC’s knowledge or participation. OEPC had no ability to develop

additional evidence of misconduct because the relationship was not disclosed during

the arbitration as the contract required. The AAA Rules, in fact, squarely prohibit

calling arbitrators as witnesses, see JA220, Rule R-52(e), making Smit’s compliance

with his disclosure obligations all the more critical to the parties’ arbitration

agreement and to the fundamental fairness of the process.

      By concluding that OEPC had no recourse for Smit’s concealment, the district

court rendered the agreement’s disclosure requirements toothless and eviscerated the

parties’ right to arbitrate with the guarantees of independence and neutrality for

which they bargained. Arbitration can be a tremendously useful method of dispute


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resolution, especially in the context of international transactions in which one party

may doubt the neutrality of local judicial systems. But its promised benefits become

illusory if negotiated neutrality and disclosure agreements can be disregarded

without consequence.      Here, Andes’ and Smit’s disregard for the arbitration

agreement’s disclosure provisions left OEPC in the same position it sought to avoid

by looking to arbitration in the first place: an adjudication before a decisionmaker

it could not trust. That violation requires vacating the massive arbitration award

issued by a compromised panel. To do otherwise would be to reward a party that

manifestly and knowingly violated its own disclosure obligations.

II.   The Arbitration Award Should Be Vacated Because The OEPC-Andes
      Panel Was Not Composed In Accordance With The Arbitration
      Agreement.
      A.     The Arbitration Award Cannot Be Confirmed Under The
             Convention.
      Smit’s failure to disclose in accordance with the arbitration agreement also

precludes confirmation under the Convention on the Recognition and Enforcement

of Foreign Arbitral Awards. The Convention, widely considered the foundational

instrument for international arbitration, applies to arbitration awards “not considered

as domestic” by the law of the state where recognition and enforcement is sought.

Convention, art. I(1).    Chapter 2 of the FAA implements the United States’

obligations under the Convention and provides that an award is “not considered as

domestic” if (among other things) one of the parties to the award is a foreign

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corporation. 9 U.S.C. §202; see CBF Indústria de Gusa S/A v. AMCI Holdings, Inc.,

850 F.3d 58, 70 (2d Cir. 2017). Andes is a foreign corporation, so the Convention

applies here. 3 When a party seeks confirmation of an award covered by the

Convention, the FAA directs courts to deny confirmation if “one of the grounds for

refusal or deferral of recognition or enforcement of the award specified in

the … Convention” applies. 9 U.S.C. §207.

       One of the Convention’s grounds for refusing to enforce an arbitral award is

when “[t]he composition of the arbitral authority … was not in accordance with the

agreement of the parties.” Convention, art. V, §1(d). In other words, when “the

parties explicitly settle[] on a form” for panel composition, the “Convention requires

that their commitment be respected.” Encyc. Universalis S.A. v. Encyc. Britannica,

Inc., 403 F.3d 85, 91 (2d Cir. 2005) (refusing to confirm award under Convention

when two arbitrators failed to comply with contractual provisions regarding

selection of third arbitrator). That defense against enforcement “is essentially an

issue of contract interpretation, grounded in the language of the agreements between

the parties.” Zeiler v. Deitsch, 500 F.3d 157, 166 (2d Cir. 2007).




   3
    When the Convention applies, “the FAA and the Convention have overlapping
coverage to the extent that they do not conflict.” Yusuf Ahmed Alghanim & Sons v.
Toys “R” Us, Inc., 126 F.3d 15, 20 (2d Cir. 1997); 9 U.S.C. §208.

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      The Convention’s strong protection of contractual panel-selection provisions

reflects the reality that, when it comes to international arbitration, panel composition

is “[i]n many respects … the most important decision arbitrating parties make.”

Macneil, supra, §27.1. Although much of the appeal of domestic arbitration lies in

its efficiency, see, e.g., AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 345

(2011), “the idea behind international arbitration is to provide a neutral forum,”

OJSC Ukrnafta v. Carpatsky Petrol. Corp., 957 F.3d 487, 502 (5th Cir. 2020),

“obviat[ing] the danger that a dispute under the agreement might be submitted to a

forum hostile to the interests of one of the parties,” Scherk, 417 U.S. at 516; accord

Mitsubishi, 473 U.S. at 629-30.          The Convention rigorously protects the

enforceability of contractual requirements connected to a party’s consent to a

particular arbitrator, including provisions regarding independence, disclosure, and

removal. Tatneft, 21 F.4th at 838.

      If the parties agree that their arbitral panel will be composed of arbitrators

who are wholly independent and must comply with specific disclosure requirements,

and one of the arbitrators does not comply, then the “composition of the arbitral

authority” is not “in accordance with the agreement of the parties,” and the

Convention precludes confirmation. Convention, art. V, §1(d). In Tatneft, for

example, the parties’ agreement incorporated a separate body of rules that “require

an arbitrator to disclose ‘any circumstances likely to give rise to justifiable doubts


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as to his impartiality or independence.’” 21 F.4th at 838. Applying the Convention,

the D.C. Circuit explained that if the arbitrator “failed to disclose” in accordance

with the contract—i.e., if he failed to disclose “circumstances creating ‘justifiable

doubts’ about his impartiality”—then the award could not be confirmed because “the

‘composition of the arbitral authority’ would not have been ‘in accordance with the

agreement of the parties.’” Id.4

       The Convention required the district court to deny confirmation here. Smit

plainly failed to disclose in accordance with the arbitration agreement. The parties

agreed that their arbitral panel would be composed of three wholly independent and

neutral arbitrators who would disclose “any past or present relationship with the

parties or their representatives.” JA208, Rule R-17(a). Smit and Shore’s concurrent

service unambiguously falls within the meaning of “any … present … relationship.”

Accordingly, Smit had a mandatory obligation to divulge his ongoing relationship

with Andes’ counsel, Shore, a matter he knew was of profound concern to OEPC.

Andes and Shore had an obligation to disclose that relationship too. Their collective

failure to make these required disclosures produced an arbitral authority that was not

composed “in accordance with the agreement of the parties.” Tatneft, 21 F.4th at



   4
     This ground for refusing confirmation under the Convention is distinct from
evident partiality under the FAA, as it precludes confirmation even if a reasonable
person would not conclude that the violation evinced evident partiality. See Tatneft,
21 F.4th at 838.

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838. The parties agreed their arbitral panel would be composed of three neutral

arbitrators who would disclose all potential conflicts, but it was not. Instead, it was

composed of two compliant arbitrators and one who disregarded the parties’

agreement, disregarded his oath, and concealed a material and ongoing relationship

with counsel for one of the parties—all of which was known to Andes throughout

the arbitration, while it was concealed from OEPC.

      These breaches cascaded to other provisions regulating panel composition.

The nondisclosure effectively nullified the agreement’s unambiguous commitment

to submit disqualification disputes to the AAA, which in turn nullified OEPC’s

ability to select a replacement for Smit. JA190 ¶3(l); JA295 ¶18.2.3.12; JA209, Rule

R-18(c). Allowing Smit to effectively determine his own continued service on the

panel struck at the core of the conditions underlying the parties’ consent to arbitrate

under this panel. See Pitta, 806 F.2d at 424; cf. Williams v. Pennsylvania, 579 U.S.

1, 14 (2016) (holding that the participation of a partial judge in an appeal is a

structural error). Taken separately or together, the abrogation of these procedures

departed from the arbitral tribunal envisioned by the arbitration agreement. Smit,

Andes, and Shore’s shared and individual failures to disclose ensured that “the

composition of the arbitral authority … was not in accordance with the agreement.”

Convention, art. V, §1(d).




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      B.     The Arbitration Award Should Be Vacated Under FAA §10(a)(4).
      For essentially the same reasons, Smit “exceeded [his] powers” under the

parties’ agreement, warranting vacatur under 9 U.S.C. §10(a)(4).                Because

arbitration is a matter of contract, arbitrators derive their authority entirely from the

parties’ agreement. See United Steelworkers of Am. v. Enter. Wheel & Car Corp.,

363 U.S. 593, 597 (1960). Arbitrators exceed their authority when they stray from

the terms of the parties’ agreement. For example, an arbitrator lacks authority to

resolve the parties’ dispute if he is not appointed in the manner required by the

parties’ agreement. Avis Rent A Car Sys., Inc. v. Garage Emps. Union, 791 F.2d 22,

25 (2d Cir. 1986). Likewise, an arbitrator lacks authority to decide any issues that

the parties did not agree to submit to arbitration. Porzig v. Dresdner, Kleinwort,

Benson, N. Am. LLC, 497 F.3d 133, 140-41 (2d Cir. 2007); cf. First Options of Chi.,

Inc. v. Kaplan, 514 U.S. 938, 944 (1995) (requiring “clear and unmistakable”

evidence that parties agreed to submit arbitrability dispute to arbitrator). And an

arbitrator lacks authority to issue an award under the agreement if he fails to comply

with the agreement’s disclosure requirements or other requirements “designed to

facilitate the search for an acceptable neutral.” Sphere Drake, 307 F.3d at 623.

      That is precisely what happened here. The parties agreed to submit their

dispute to a panel of three neutral arbitrators who would comply with a rigorous

regime of disclosure and disqualification, and they expressly stripped the arbitrators


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of any authority to “detract from or alter” those requirements. JA190 ¶3(m). Smit’s

authority to resolve the parties’ underlying dispute did not extend to resolving his

own qualification to serve; to the contrary, his authority to act in the main dispute

was expressly conditioned on his agreement to the continuing disclosure

requirements imposed on him as an arbitrator, with any disqualification issues

prompted by those disclosures to be resolved by a different panel. But rather than

honor his agreement to disclose relationships with Andes and Shore and leave

disqualification questions to a separate impartial panel, Smit unilaterally exempted

himself from complying, concealed his ongoing, material, and lucrative relationship

with Andes’ lead counsel, and arrogated to himself determinations whether the

relationships were material. By failing to honor his disclosure requirements and

arrogating to himself the power to resolve questions of disqualification, Smit plainly

“exceeded [his] powers.” 9 U.S.C. §10(a)(4). The FAA mandated that the district

court rigorously enforce these contractual limitations; instead, it sanctioned Smith’s

material breach.5




   5
     The district court’s conclusion under §10(a)(4) rested solely on its incorrect
statement that OEPC did “not allege that either Smit or the Tribunal strayed from
interpretation and application of the agreement.” SPA9. To the contrary, OEPC’s
argument is premised on Smit’s breach of his disclosure obligations and
circumvention of the contract’s disqualification procedures.

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III.   In The Alternative, The Court Should Remand For An Evidentiary
       Hearing Or Discovery.
       At a bare minimum, this Court should vacate the district court’s judgment and

remand for an evidentiary hearing or discovery.          Proceedings to confirm an

arbitration award are “treated as akin to a motion for summary judgment.” D.H.

Blair & Co. v. Gottdiener, 462 F.3d 95, 109 (2d Cir. 2006).6 In the specific context

of proceedings to confirm an arbitration award, the Eleventh Circuit has explained

that confirmation should be denied in favor of an evidentiary hearing when a party

has presented “prima facie grounds for vacatur of the arbitration award,” which are:

“(1) the arbitrator must be aware of the facts comprising a potential conflict; (2) the

potential conflict must be one that a reasonable person would recognize; and (3) the

arbitrator must fail to disclose the conflict.” Univ. Commons-Urbana, 304 F.3d at

1341; see also Sanko S.S. Co. v. Cook Indus., Inc., 495 F.2d 1260 (2d Cir. 1973)

(remanding for an evidentiary hearing).




   6
     In opposing Andes’ motion to confirm the award, OEPC argued repeatedly that
genuine issues of fact precluded confirmation of the award. It filed a “Response To
Petitioner’s Rule 56.1 Statement Of Undisputed Material Facts,” which identified
disputed factual issues that it argued precluded confirmation or warranted discovery.
It argued in its Motion to Vacate, Dkt.29 at 19-29, and in its Opposition to Andes’
Petition to Confirm, that the evidence it provided “raises genuine issues of material
fact to show the Award cannot be confirmed,” Dkt.35 at 9-10, under either the FAA
or the Convention. OEPC also requested oral argument on its motion when the
matter was pending before Judge Cote. Less than two weeks after the matter was
transferred to him, Judge Hellerstein confirmed the award without argument.

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      For the reasons detailed above, the undisputed facts show that the award must

be vacated under the FAA or denied confirmation under the Convention. At the very

least, however, OEPC has established a prima facie case for vacatur. Smit was

indisputably aware of both his co-arbitrator relationship with Shore and Shore’s role

as Andes’ lead counsel. Andes never disputed it knew of this relationship. And its

lead counsel, Shore, was privy to it. The only party unknowing of the relationship

was OEPC. Any reasonable person would recognize at least the potential for conflict

inherent in an arbitrator-party relationship. See Univ. Commons-Urbana, 304 F.3d

at 1341. And it is undisputed that Smit and Shore failed to disclose this relationship,

in violation of their repeated promises to the contrary. At a bare minimum, then,

Smit and Shore’s unexplained failure to disclose warrants further exploration.

      In particular, OEPC (and the reasonable observer from whose perspective

evident partiality must be assessed) remains almost entirely in the dark about the

scope and nature of Smit-Shore interactions during the confidential ICC Arbitration.

Shore’s carefully worded declaration insists that his “only” in-person meetings with

Smit as part of the ICC Arbitration took place over a five-day period from October

14-18, 2019. JA584 ¶35. He does not provide any further details about those

meetings, let alone about the number and nature of other meetings that were not “in-

person,” other than to acknowledge that the arbitral panel also held “other




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meetings … by phone or video conference,” an unspecified number of “deliberative

lunches,” and at least one “tribunal dinner meeting.” Id.

      OEPC is likewise in the dark about the extent of legal overlap between the

contractual issues in this arbitration and those in the confidential ICC Arbitration.

See JA580 ¶23 (acknowledging that ICC Arbitration also involved a contract

dispute). The arbitration proceedings here required Smit to opine on almost the full

gamut of contract-law doctrines, including contract interpretation, admissibility of

extrinsic evidence, implied conditions, mitigation of damages, frustration of

purpose, mutual mistake, the implied duty of good faith, damages offsets, and

damages calculations. JA35-36 ¶37-39. It is difficult to imagine a contract dispute

in the ICC Arbitration would not involve at least some of these doctrines, and to the

extent the non-disclosure alone is not enough to demonstrate evident partiality, a

reasonable observer would surely want to know the extent to which Shore was privy

to inside information about Smit’s views on the very doctrines he would later apply

in awarding Shore’s client half-a-billion dollars.

      It is clear beyond cavil that the Smit-Shore interactions went well beyond

running into each other at arbitration conferences, but the details of those

interactions are still known only by Smit, Shore, and Andes. That alone should

suffice to convince a reasonable observer of evident partiality. But if not, further

discovery into all these plainly relevant circumstances is necessary.


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IV.    The District Court Awarded Andes Excessive Pre-Judgment Interest.
       Even if this Court affirms the district court’s confirmation of the award, it

should vacate or reverse the erroneous pre-judgment interest calculation. Although

the district court did not explain why it awarded the $166 million in interest that

Andes requested rather than the $132 million that OEPC proposed, its haste in

entering judgment suggests it adopted Andes’ calculations in full.         But those

calculations contained two obvious errors—one legal, one mathematical—that

combine to overstate the amount of pre-judgment interest by more than $34 million.

       A. The district court misapplied the terms of the parties’ agreement and, as a

result, used the wrong reference point for calculating the pre-judgment interest rate.

The arbitration award required OEPC to pay interest on the award at the rate set forth

in paragraph 1.4 of the JOA. JA144 ¶347(c)(i).7 Paragraph 1.4 of the JOA, in turn,

defines the “Agreed Interest Rate” as follows:

       Agreed Interest Rate means interest compounded on a monthly basis,
       at the rate per annum equal to the one (1) month term, London Interbank
       Offered Rate (LIBOR rate) for U.S. dollar deposits … plus five (5%)
       percentage points, applicable on the first Business Day prior to the due
       date of payment and thereafter on the first Business Day of each
       succeeding calendar month.

JA250 ¶1.4. In other words, it defines the “Agreed Interest Rate” as 5% plus the

U.S. 1-month LIBOR rate “applicable on the first Business Day prior to the due date


   7
     The award also references Clause 3(i) of Exhibit H of the Farmout Agreement,
but that clause also points to paragraph 1.4 of the JOA.

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of payment.” JA250. Thereafter, the rate is recalculated based on the new LIBOR

rate “on the first Business Day of each succeeding calendar month.” JA250. The

award set the due date for payment of the award at “thirty (30) calendar days” after

OEPC received Andes’ escrow account details. JA144-45 ¶347(d). Andes provided

that information to OEPC on March 26, 2021, see JA799, making the due date for

payment of the award Sunday, April 25, 2021.

      Because the due date was a Sunday, the preceding Friday—April 23, 2021—

was the “first Business Day prior to the due date of payment” and the date on which

the Agreed Interest Rate should be determined under paragraph 1.4 of the JOA. On

April 23, 2021, the LIBOR 1-month rate was 0.111000%, JA794 ¶7, resulting in an

applicable pre-judgment interest rate of 5.111% from March 4, 2016, through April

23, 2021, with the rate then changing on the first Business Day of the month

thereafter, beginning on May 3, 2021. JA250 ¶1.4; see JA793-96. As OEPC

demonstrated below, that calculation produces a total pre-judgment interest amount

of $132,089,357.15. See JA793-96.

      Andes insists (and the district court apparently agreed) that the “due date of

payment” under paragraph 1.4 is not the date on which payment of “the award” was

due under the award, but rather is the date on which OEPC purportedly breached the

parties’ agreement, i.e., March 4, 2016. The contract says nothing of the sort, but

relying on that revisionist reading, Andes claimed that the starting interest rate is 5%


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plus the 1-month LIBOR rate on March 4, 2016—when, conveniently enough for

Andes, interest rates were higher than they were in April 2021. Andes’ attempt to

conflate the date of the breach and the “due date of payment” contradicts the plain

language of the agreement and violates the principle that “the use of different terms

in the same agreement … implies that they are to be afforded different meanings.”

Chen v. Ins. Co. of the State of Pa., 163 N.E.3d 447, 451 (N.Y. 2020). The JOA uses

the terms “date of any breach” and “due date of payment” differently in explaining

how to calculate the two components of interest. The JOA states that interest starts

to accrue on the “date of any breach.” JA295 ¶18.2.3.9. But it does not say that the

interest rate should be calculated by reference to the “date of any breach.” Instead,

it says that the rate should be calculated by reference to “the due date of payment.”

JA250 ¶1.4. If the parties wanted the “date of any breach” to serve as the reference

point for both parts of the interest calculation, then they would have said so. Instead,

the parties used different terms in setting reference points for the different parts of

the interest calculation, and those two terms must “be afforded different meanings.”

Chen, 163 N.E.3d at 451.

      B. Andes (and by extension the district court) made an equally fundamental

mathematical error. As the spreadsheet it attached to its letter brief revealed, Andes

compounded interest based on a 360-day year, but applied that interest every day of

the applicable 365-day calendar years. See JA795-96 ¶13; JA783. Because the 360-


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day convention results in a higher daily interest rate than a 365-day convention, this

mixing and matching enabled Andes to overstate the amount of prejudgment interest

by approximately $3 million. See JA795-96 ¶13. Again, neither Andes nor the

district court offered any explanation for this patently incorrect result.

                                   CONCLUSION
      For the foregoing reasons, this Court should reverse. In the alternative, this

Court should vacate and remand for an evidentiary hearing or discovery. At a bare

minimum, this Court should vacate the district court’s award of pre-judgment

interest and either render judgment in the correct amount or remand for re-

calculation.

                                               Respectfully submitted,

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March 30, 2022

                                           s/Paul D. Clement
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      I hereby certify that, on March 30, 2022, an electronic copy of the

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                                          s/Paul D. Clement
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